 

J8 44 (Rev. 1/2013) CIVIL COVER SHEET

S 44 civil heet and the information contained herein neither replace nor supplement the filing and service of pleadings or oth rs ired by law, except as

provided w local rules of court. This form, approved by the Judicial Conference of the Gnited States in September 1974, is required for Fe ft ome Y seer Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM) IN GLERK'S GFE) 2e
net NY.

I. (a) PLAINTIFFS DEFENDANTS Uo. ero

United States of America Metro Data Management, inc. di ing Groyp. Ltd.;
Keitha Rocco; Sasa datecebotlty ude ia st Diréet Marketing

(b) County of Residence of First Listed Plaintiff County of Residence of First Listed eee SECS
(EXCEPT IN U.S. PLAINTIFF CASES) an USD WAR Ses OEd

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT GF LAND INVOLVED.

(ce) Attomeys (Firm Name, Address, and Telephone Number) Attorneys (i, y a - “ &.. 1
John Vagelatos, U.S. Attorney's Office, 271 Cadman Plaza East, va 1 a d =
Brooklyn, NY 11201, (718) 254-6182; Ann F. Entwistle, U.S. Dep't of ad we

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Justice, PO Box 386, Washington, DC 20044-0386, (202) 305-3630

  
  

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IL. BASIS OF JURISDICTION (Ptace an “X" i One Box Only) IIL. CITIZENSHIP OF F i 5 pA if , wcemne Gn far Plainttfy
(For Diversity Cases Onb d i 5 “he ancigdne| way”
1 US. Government (3 Federal Question F EP 5 5a i DEF.
Plaintiff (U.S. Government Not a Party) Cc ie is 1 © 1 Incorporated er Principal Place o4
SURIMONS ISSUED of Business In This State
O2 US. Govemment O 4 Diversity Citizen of Another State oz 02 rated and Principal Place o5 o8
Defendant (indicate Citizenship of Parties in fem [fI} BR: et J
3 owe
Citizen or Subject of a O 3 © 3 Foreign Nation go6« 6
Foreign Country

 

 

 

    

IV. NATURE OF SUIT (Place an “X” in One Bax Oniy)

 

 

       

   

    

      

 
         

   

 

 

 

 

 

O 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure OG 422 Appeal 28 USC 158 O 375 False Claims Act
© 120 Marine © 310 Airplane & 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal O 400 State Reapportionment
O 139 Miller Act 07 315 Airplane Product Product Liability O 690 Other 28 USC 157 C7 410 Antitrust
O 140 Negotiable Instrument Liability © 367 Health Care/ 1 430 Banks and Banking
1 150 Recovery of Overpayment [ (7 320 Assault, Libel & Pharmaceutical 0 450 Commerce
& Enforcement of Judgment Slander Personal Injury 0 820 Copyrights O 460 Deportation
O 151 Medicare Act 01 330 Federal Employers’ Product Liability 4 830 Patent O 470 Racketeer Influenced and
152 Recovery of Defaulted Liability 1 368 Asbestos Personal O 840 Trademark Corrupt Organizations
Student Loans O) 340 Marine Injury Product 480 Consumer Credit
(Excludes Veterans) C345 Marine Product Liability aa Eee a i ee 490 Cable/Sat TV
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY | (7 710 Fair Labor Standards O 861 HIA (1395 O 850 Securities‘Commodities!
of Veteran’s Benefits 1 350 Motor Vehicle O 370 Other Frand Act © 862 Black Lung (923) Exchange
11 160 Stockholders’ Suits 0 355 Motor Vehicle O 371 Truth in Lending (6 720 Labor/Management 0 863 DIWC/DIWW (405(g}) |) 890 Other Statutory Actions
7 190 Other Contract Product Liability 380 Other Personal Relations 1 864 SSID Title XVI O 891 Agricultural Acts
O 195 Contract Product Liability [0 360 Other Personal Property Damage CT 740 Railway Labor Act O 865 RS] (405{2)) 1 893 Environmental Matters
OF 196 Franchise Injury 1 385 Property Damage O 751 Family and Medical (1 895 Freedom of Information
(0 362 Personal Injury - Product Liability Leave Act Act
Medical Malpracti O 790 Other Labor Litigation O 896 Arbitration
- i — a an ; gC} 791 Employee Retirement =a ees CO) 899 Administrative Procedure
G 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: Income Security Act 1 870 Taxes (U.S. Plaintiff ActReview or Appeal of
0 220 Foreclosure O 441 Voting O 463 Alien Detainee or Defendant) Agency Decision
O 236 Rent Lease & Ejectment CF 442 Employment 1 $10 Motions to Vacate O 87] IRS—Third Party O 950 Constitutionality of
4 240 Torts to Land C¥ 443 Housing/ Sentence 26 USC 7609 State Statutes
0 245 Tort Product Liability Accommodations 530 General
0 290 All Other Real Property 17 445 Amer, w/Disabilities -—G 535 Death Penalty a nee a
Employment Other: O 462 Naturalization Application ‘
CO 446 Amer. w/Disabilities -[(0) $40 Mandamus & Other | 465 Other Immigration
Other O 450 Civil Rights Actions
(1 448 Education O 555 Prison Condition
O 460 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Piece an “X" in One Box Only)
Mt Original f92 Removed from O 3° Remanded from 4 Reinstatedor  $ Transferred from (3 6 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigatton

(specify)
Cite the U.S. Civil Statute under which you are filing (Do net cite jurisdictional statutes unless diversity).
18 U.S.C. Sectioni345
Brief description of cause:
Anti-Fraud Injunction Statute

VI. CAUSE OF ACTION

 

 

 

 

 

VII. REQUESTED IN (CHECK IF THIS IS A CLASS ACFION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv_P. JURY DEMAND: O Yes 3INo
VIIL RELATED CASE(S)
IF ANY (See instructions) nce DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
11/19/2014

 

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
CERTIFICATION OF ARBITRATION ELIGIBILITY
Local Arbitration Rule 83,10 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a
certification to the contrary is filed.

], John Vagelatos , counsel for the United Statesof America, do hereby certify that the above captioned civil action is
ineligible for compulsory arbitration for the following reason(s):

0 monetary damages sought are in excess of $150,000, exclusive of interest and costs,
the complaint seeks injunctive relief,
Oo the matter is otherwise ineligible for the following reason

DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1

Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:

RELATED CASE STATEMENT (Section VIII on the Front of this Form)

Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VIII on the front of this form. Rule 50.3.1 (a)
provides that “A civil case is “related” to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or
because the cases arise from the same transactions or events, a substantial saving of judicial resources is likely to result from assigning both cases to the
same judge and magistrate judge.” Rule 50.3.1 (b} provides that “ A civil case shall not be deemed “related” to another civil case merely because the civil
case: (A) involves identical legal issues, or (B) involves the same parties.” Rule 50.3.1 (c) further provides that “Presumptively, and subject to the power
of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be “related” unless both cases are still pending before the
court.”

NY-E DIVISION OF BUSINESS RULE 50,1(a)(2)

1) Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
County: No

2.) If you answered “no” above:
a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
County? Yes

 

b) Did the events of omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
District? Yes

If your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in an interpleader action, does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau
or Suffolk County?
(Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).
BAR ADMISSION

I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.
Yes [] No

Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?
LL] Yes (if yes, please explain) No

I certify the accuracy of all information provided abo
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Signature __ ( :

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